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                       UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA


MYA DEIONSHAI CORBETT,                   )
                                         )       CASE NO. 22-10293
          Plaintiff/Debtor,              )       CHAPTER 13
                                         )       ADV. PROC. NO. 22-2017
                 v.                      )
                                         )
TOWRIFFIC TOWING &                       )       DEFENDANT OAK TREE
RECOVERY and OAKTREE                     )       FINANCE, LLC’S MOTION TO
FINANCE LLC,                             )       DISMISS (UNDERLYING CASE
                                         )       DISMISSED)
           Defendants.




      NOW COMES defendant Oak Tree Finance, LLC, by and through
undersigned counsel, and moves that this adversary proceeding be dismissed and
shows as follows:

   1. This adversary proceeding was filed on June 21, 2022 by Debtor Mya Corbett
      (“debtor”).

   2. On July 26, 2022 a hearing was held on the Trustee’s Motion to Dismiss the
      underlying bankruptcy case (Case No. 22-10293).

   3. On July 27, 2022, this Honorable Court entered an Order dismissing the
      underlying Chapter 13 bankruptcy case prior to confirmation. See Case No.
      22-10293, Docket Number 33.

   4. It would be appropriate, given that the Court has dismissed the underlying
      case, that the Court divest itself of jurisdiction in the Adversary Proceeding
      filed in connection with the underlying petition and dismiss the Adversary
      Proceeding.

   5. It would be appropriate for the Court to do so without hearing and based
      upon this motion and any response the Court deems necessary to receive.

                               PRAYER FOR RELIEF

   1. That the Court dismiss debtor’s adversary proceeding;
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2. That the August 23, 2022 pretrial conference on this matter be removed from
   the docket; and

3. For other such relief that the Court deems necessary and proper.




   RESPECTFULLY SUBMITTED, This 28th day of July, 2022.




                                             _____________________________
                                             WALKER KIGER, PLLC
                                             David “Steven” Walker
                                             NC Bar #34270
                                             Attorney for Defendant Oaktree
                                             Finance LLC
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                           CERTIFICATE OF SERVICE

       This shall certify that a copy of the foregoing DEFENDANT OAK TREE
FINANCE, LLC’S MOTION TO DISMISS (UNDERLYING CASE
DISMISSED) was this day served upon the plaintiff/debtor by mailing via US
Mail, postage pre-paid, to each person below at the address of record, namely:

      Mya Corbett, Pro Se
      1183 University Drive, #105227
      Burlington, NC 27215

      William P. Miller
      Bankruptcy Administrator
      101 South Edgeworth Street
      Greensboro, NC 27401

      Tow-Riffic
      5616 Quail Covey Lane
      Wendell, NC 27591

This the 28th day of July, 2022.




                                                   __________________________
                                                   WALKER KIGER, PLLC
                                                   David “Steven” Walker
                                                   NC Bar #34270
                                                   Attorney for Defendant
                                                   100 Professional Court, Ste 102
                                                   Garner, NC 27529
                                                   (984) 200-1930 (Telephone)




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